Case 08-13141-BLS Doc 4214-1 Filed 04/30/10 Pageiof1

EXHIBIT 1

Tribune Twelfth Supplemental List of Ordinary Course Professionals

OO oo Estimated
Firm Name & Address Services Provided | Monthly Cap
Holland & Knight LLP’ Patent prosecution $35,000
100 N. Tampa St., Ste. 4100 counsel;
Tampa, FL 33602 environmental
Contact: Howell Melton counsel; litigation
Email: Howell.Melton@hklaw.com counsel

; Holland & Knight LLP is currently retained as an Ordinary Course Professional with a monthly cap of $25,000.
(See Exhibit A to the OCP Motion, Docket No. 227.)

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